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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


     LA UNIÓN DEL PUEBLO ENTERO, et                 §
     al.,                                           §
                Plaintiffs,                         §
                                                    §             5:21-CV-0844-XR
     v.                                             §            [Consolidated Cases]
                                                    §
     GREGORY W. ABBOTT, et al.,                     §
              Defendants.                           §

                                              ORDER

          On this date, the Court considered the State Defendants’ motion for a protective order and

motion to quash the deposition of former Texas Secretary of State Ruth R. Hughs. ECF No. 353.

The State Defendants ask the Court for a protective order from the subpoena to testify at a

deposition issued to Hughs by Plaintiff Mi Familia Vota or, in the alternative, for an order quashing

the subpoena. Id. at 1.

          Plaintiff Mi Familia Vota is hereby ORDERED to file a response to the State Defendants’

motion, no later than April 12, 2022. Any reply must be filed no later than April 14, 2022. The

Court SETS a hearing on this motion for Monday, April 18, 2022, at 3:30 p.m. The Courtroom

Deputy will inform the parties of the means by which the hearing will be conducted.

          It is so ORDERED.

          SIGNED this April 7, 2022.




                                                        XAVIER RODRIGUEZ
                                                        UNITED STATES DISTRICT JUDGE
